Case 4:22-cv-11107-FKB-DRG ECF No. 18-1, PageID.658 Filed 10/11/22 Page 1 of 2




                             INDEX OF EXHIBITS

A.    Realtor Magazine Mailing List

B.    Archive.org cached copy of “additional marketing” webpage from NAR’s
      Realtor magazine website (March 21, 2016)

C.    Archive.org cached copy of "custom opportunities” webpage of NAR’s
      Realtor magazine website (December 22, 2017)

D.    “Other opportunities” webpage of Realtor magazine website (October 11,
      2022)

E.    BPA Worldwide, “Brand Report” for Realtor magazine for the 6 month
      period ended December 2018

F.    Privacy: Sales, Rentals of Videos, etc., House Legislative Analysis Section,
      H.B. No. 5331, Jan. 20, 1989

G.    The Information Marketplace: Merging and Exchanging Consumer Data
      (Mar. 13, 2001)

H.    Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011)

I.    Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7, 2009)

J.    Martha C. White, Big Data Knows What You’re Doing Right Now,
      TIME.com (July 31, 2012)

K.    Natasha Singer, You for Sale: Mapping, and Sharing, the Consumer
      Genome, N.Y. Times (June 16, 2012)

L.    Letter from Senator John D. Rockefeller IV, Chairman, Senate Committee
      on Commerce, Science, and Transportation, to Scott E. Howe, Chief
      Executive Officer, Acxiom (Oct. 9, 2012)

M.    Bipartisan Group of Lawmakers Query Data Brokers About Practices
      Involving Consumers’ Personal Information, Website of Senator Ed Markey
      (July 24, 2012)

N.    Prize Scams, Federal Trade Commission
Case 4:22-cv-11107-FKB-DRG ECF No. 18-1, PageID.659 Filed 10/11/22 Page 2 of 2




O.    Charles Duhigg, Bilking the Elderly, With a Corporate Assist, N.Y. Times,
      May 20, 2007

P.    Fraud Against Seniors: Hearing before the Senate Special Committee on
      Aging (August 10, 2000)

Q.    2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe

R.    Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal
      Data, N.Y. Times (Feb. 12, 2012)

S.    Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy
      Information on Purchasing Behavior, 22(2) Information Systems Research
      254, 254 (2011)

T.    Hann, et al., The Value of Online Information Privacy: An Empirical
      Investigation (Oct. 2003)

U.    California’s Reader Privacy Act Signed into Law, Electronic Frontier
      Foundation (Oct. 3, 2011)
